Case 2:16-bk-52822      Doc 60     Filed 07/06/21 Entered 07/06/21 14:19:28             Desc Main
                                   Document Page 1 of 4



                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

   In Re: Craig Anthony Bernardo                 :   Case No. 16-52822
          Kimberly Anna Bernardo                 :   Chapter 13

                                                 :   Judge C KATHRYN PRESTON


                      MOTION TO DEEM MORTGAGE CURRENT
      Now comes , Edward A. Bailey Chapter 13 Trustee (“Trustee”), and moves this Court

   for an order deeming Debtors’ mortgage obligation to U.S. Bank Trust National Assoc.

   c/o BSI Financial Services (“Mortgage Company”) current as of the month in which the

   final payment was made by the Trustee, specifically, June 2021 (“Final Payment Date”).

   Support for this motion is set forth below.

                                       MEMORANDUM

      Debtors filed a case under Chapter 13 of the Bankruptcy Code on April 28, 2016. The

   plan was confirmed on July 07, 2016. Pursuant to the terms of Debtors’ confirmed

   Chapter 13 Plan and any filed proofs of claim, any default in the mortgage obligation was

   to be cured, and regular, post-petition mortgage payments were to be paid to Mortgage

   Company through the Trustee by “conduit” commencing May 2016.

      Debtors have completed all requirements of the confirmed Plan, and Trustee made the

   final conduit mortgage payment on the Final Payment Date. Debtors have been instructed

   by the Trustee to make mortgage payments directly to the mortgage company beginning

   in the month following the Final Payment Date. Therefore, all allowed claims for

   pre-petition arrearages and all regular, post-petition payments have been paid in full in

   accordance with the confirmed Chapter 13 Plan.
Case 2:16-bk-52822      Doc 60    Filed 07/06/21 Entered 07/06/21 14:19:28             Desc Main
                                  Document Page 2 of 4




   Page 2
   Bernardo
   16-52822

      Wherefore, Trustee respectfully requests that this Court enter an order:

      (a) finding that all pre-petition arrearage claims of Mortgage Company have been paid

   in full through the Plan;

      (b) finding that all regular, post-petition mortgage payments have been made by the

   Trustee through the Final Payment Date, and that all such “conduit” payments are deemed

   to have been made on a timely basis;

      (c) finding that the mortgage obligation to Mortgage Company is deemed current as of

   the Final Payment Date; and

      (d) directing Mortgage Company to adjust its loan balance to reflect the balance

   delineated in the original amortization schedule as of the Final Payment Date, and finding

   that any amounts in excess of that balance, including any alleged arrearages, costs, fees or

   interest are discharged pursuant to 11 U.S.C. §1328.

                                                 Respectfully submitted,

                                                 /s/ Edward A. Bailey
                                                 Edward A. Bailey
                                                 Chapter 13 Trustee
                                                 130 East Wilson Bridge Road #200
                                                 Worthington, Ohio 43085
                                                 (614) 436-6700
                                                 trustee@ch13.org
Case 2:16-bk-52822      Doc 60     Filed 07/06/21 Entered 07/06/21 14:19:28             Desc Main
                                   Document Page 3 of 4


                       UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF OHIO
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   In Re: Craig Anthony Bernardo               :     Case No. 16-52822
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 06, 2021, a copy of the foregoing Motion to Deem

   Mortgage Current and Notice was served on the following registered ECF participants

   electronically through the court’s ECF system at the email address registered with the

   court:

   U.S. Trustee
   Edward A. Bailey
   Mark Albert Herder Esq.
   Molly Slutsky Simons
   and on the following by ordinary U.S. mail address to:
   Craig Anthony Bernardo
   Kimberly Anna Bernardo
   1091 Royal Oak Drive
   Lewis Center, OH 43035-7984

   Molly Slutsky Simons
   Sottile & Barile LLC
   394 Wards Corner Road, Suite 180
   Loveland, OH 45140

   U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust
   c/o BSI Financial Services
   PO Box 679002
   Dallas, TX 75267-9002

   U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust
   c/o BSI Financial Services
   1425 Greenway Drive, Ste 400
   Irving, TX 75038

                                                   /s/ Edward A. Bailey
                                                   Edward A. Bailey
                                                   Chapter 13 Trustee
Case 2:16-bk-52822     Doc 60     Filed 07/06/21 Entered 07/06/21 14:19:28            Desc Main
                                  Document Page 4 of 4



                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

   In Re: Craig Anthony Bernardo                :    Case No. 16-52822
           Kimberly Anna Bernardo               :    Chapter 13

                                                :    Judge C KATHRYN PRESTON


               NOTICE OF MOTION TO DEEM MORTGAGE CURRENT

    The Chapter 13 Trustee has filed papers with the court asking the court to deem a certain
    mortgage obligation to be current.

        Your rights may be affected. You should read these papers carefully and discuss
    them with your attorney, if you have one in this bankruptcy case. If you do not have an
    attorney, you may wish to consult one.

        If you do not want the court to grant the relief sought in the motion, then on or
    before twenty-one (21) days from the date set forth in the certificate of service for the
    motion, you must file with the court a response explaining your position by mailing your
    response by regular U.S. Mail to Clerk, U.S. Bankruptcy Court, 170 N. High Street,
    Columbus, OH 43215 OR your attorney must file a response using the court’s ECF
    System.

       The court must receive your response on or before the above date.

        You must also send a copy of your response either by 1) the court’s ECF System or
    2) regular U.S. Mail to:

       Edward A. Bailey                       United States Trustee
       Chapter 13 Trustee                     170 N. High Street, #200
       130 E. Wilson Bridge Road, #200        Columbus, OH 43215
       Worthington, OH 43085

        If you or your attorney do not take these steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief
     without further hearing or notice.


                                                    /s/ Edward A. Bailey
                                                    Edward A. Bailey
                                                    Chapter 13 Trustee
                                                    130 E. Wilson Bridge Rd., #200
                                                    Worthington, OH 43085
                                                    (614) 436-6700
                                                    trustee@ch13.org
